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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


DEFENSE DISTRIBUTED and                              §   Case No. 1:18-CV-637
SECOND AMENDMENT FOUNDATION, INC.,                   §
                                                     §
                   Plaintiffs,                       §
                                                     §
                   v.                                §
                                                     §
UNITED STATES DEPARTMENT OF STATE,                   §    PLAINTIFFS’ RESPONSE
MICHAEL R. POMPEO, in his official capacity as       §       TO DEFENDANT
Secretary of State; DIRECTORIATE OF DEFENSE          §     GURBIR S. GREWAL’S
TRADE CONTROLS; MIKE MILLER, in his official         §    OPPOSED MOTION FOR
capacity as Acting Deputy Assistant Secretary of     §    AN EXTENSION OF THE
Defense Trade Controls; SARAH HEIDEMA, in her        §         PAGE LIMIT
official capacity as Director of Policy, Office of   §
Defense Trade Controls Policy,                       §
                                                     §
and                                                  §
                                                     §
GURBIR GREWAL, Attorney General of the               §
State of New Jersey                                  §
                                                     §
                  Defendants.                        §
___________________________________________
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         Defense Distributed and Second Amendment Foundation, Inc. (“SAF”) file this response

to Defendant Gurbir S. Grewal’s Opposed Motion for an Extension of the Page Limit, Dkt. 120.

                                                           Response

         This action’s defendants include both New Jersey Attorney General Gurbir Grewal and the

State Department and its officials. Grewal’s motion seeks relief that impacts not just Defense

Distributed and SAF, but also the State Department and its officials. Namely, Grewal’s motion

seeks to alter the procedures by which the Court determines whether to sever Defense Distributed

and SAF’s case against Grewal from Defense Distributed and SAF’s case against the State

Department and its officials. The State Department and its officials have a substantial interest in

the issue of whether to sever their part of the action from Grewal’s,1 and the State Department and

its officials therefore also have a substantial interest in the issue of how severance is litigated. Yet

Grewal failed to confer with the State Department and its officials about the motion, as is required

by Local Rule CV-7. The Court should not grant Grewal’s request unless and until he complies

with Local Rule CV-7 as to all parties the request implicates. The current motion should therefore

be denied, leaving Grewal free to refile if/when he complies with the conference requirement as

to all impacted parties.

                                                          Conclusion

         The motion should be denied.


1
  Many reasons for the State Department to oppose severance exist. They include but are not limited to (1) the need
for unified litigation of the common transactions and occurrences that the action’s claims arise out of, see Dkt. 117 at
9, ¶ 34 (“Grewal and the State Department can be permissively joined as defendants in this action because the claims
against them are with respect to or arising out of the same transaction, occurrence, or series of transactions or
occurrences.”), (2) the need for unified litigation of the common questions of law and fact that will arise in the action,
see id. at 10, ¶ 35 (“Grewal and the State Department can be permissively joined as defendants in this action because
questions of law and/or fact common to all defendants will arise in the action.”), (3) the need for Grewal to designate
the State Department a “necessary party” as he did to Defense Distributed and SAF in Washington v. United States
Dep't of State,No. C18-1115RSL, 2018 WL 5921011, at *1 (W.D. Wash. Nov. 13, 2018), and (4) the need for unified
litigation of counterclaims, offsets, and affirmative defenses that the State Department may assert against Grewal (or
vice versa), which cannot be possibly determined until at least a full set of answers have been filed.
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                                                    Respectfully submitted,

                                                    BECK REDDEN LLP
                                                    By /s/ Chad Flores
                                                    Chad Flores
                                                    cflores@beckredden.com
                                                    State Bar No. 24059759
                                                    Daniel Nightingale
                                                    dhammond@beckredden.com
                                                    State Bar No. 24098886
                                                    Hannah Roblyer
                                                    hroblyer@beckredden.com
                                                    State Bar No. 24106356
                                                    1221 McKinney St., Suite 4500
                                                    Houston, TX 77010
                                                    (713) 951-3700 | (713) 952-3720 (fax)

                                                    FARHANG & MEDCOFF
                                                    Matthew Goldstein
                                                    mgoldstein@farhangmedcoff.com
                                                    D.C. Bar No. 975000
                                                    4801 E. Broadway Blvd., Suite 311
                                                    Tucson, AZ 85711
                                                    (202) 550-0040 | (520) 790-5433 (fax)

                                                    Josh Blackman
                                                    joshblackman@gmail.com
                                                    Texas Bar No. 24118169
                                                    1303 San Jacinto Street
                                                    Houston, TX 77002
                                                    (202) 294-9003 | (713) 646-1766 (fax)

                                                    Attorneys for Plaintiffs Defense Distributed
                                                    and Second Amendment Foundation, Inc.


                                CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the above and foregoing document was served on
all parties and/or counsel of record through a manner authorized by Federal Rule of Civil
Procedure 5(b) on November 25, 2020.


                                                    /s/ Chad Flores
                                                    Chad Flores

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